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                                 UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF MISSISSIPPI
                                                          ABERDEEN DIVISION

In re: STEPHANIE JONES NORWOOD                                                                          Case No.: 19-12027-JDW
       STEVEN WAYNE NORWOOD
             Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Locke D. Barkley, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 05/14/2019.
2) The plan was confirmed on 09/26/2019.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 04/14/2021.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 11/06/2020, 08/09/2021.
5) The case was dismissed on 05/11/2022.
6) Number of months from filing or conversion to last payment: 35.
7) Number of months case was pending: 38.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 105,534.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:           $56,627.24
        Less amount refunded to debtor:                      $2,135.49
 NET RECEIPTS:                                                                  $54,491.75

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $3,410.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                     $3,640.69
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $7,050.69

 Attorney fees paid and disclosed by debtor:                 $190.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim            Claim           Principal           Interest
Name                                         Class            Scheduled         Asserted         Allowed         Paid                Paid

1ST FRANKLIN FINANCIAL CORP                  Unsecured             160.00          272.50          272.50               .00                .00
ACCOUNT CONTROL TECH                         Secured                   NA              NA              NA               .00                .00
ADP LLC                                      Secured                   NA              NA              NA               .00                .00
ALLY FINANCIAL                               Secured            16,610.54       17,308.92       14,575.00       14,575.00            1,441.26
ALLY FINANCIAL                               Secured                   NA              NA              NA               .00                .00
ALLY FINANCIAL                               Unsecured                 NA        2,733.92        2,733.92        2,733.92                  .00
AMERICAN CORADIUS INTERNATIONAL LLC
                                Secured                                NA              NA              NA               .00                .00
AMERICAN CORADIUS INTERNATIONAL LLC
                                Secured                                NA              NA              NA               .00                .00
BANK OF HOLLY SPRINGS                        Secured            88,000.00       87,238.29       23,880.57       23,880.57                  .00
BANK OF HOLLY SPRINGS                        Secured             8,521.00       10,475.76        8,521.00         3,311.94                 .00
BANK OF HOLLY SPRINGS                        Secured             1,954.76        2,932.14        2,932.14        1,139.66                  .00
BAPTIST MEDICAL GROUP                        Unsecured           2,283.95              NA              NA               .00                .00
BRUCE TELEPHONE COMPANY                      Unsecured             251.83              NA              NA               .00                .00
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                                        NORTHERN DISTRICT OF MISSISSIPPI
                                              ABERDEEN DIVISION

In re: STEPHANIE JONES NORWOOD                                                       Case No.: 19-12027-JDW
       STEVEN WAYNE NORWOOD
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                           Claim          Claim         Claim       Principal           Interest
Name                                 Class         Scheduled      Asserted      Allowed     Paid                Paid

CAMPBELL CLINIC                      Unsecured         177.81           NA           NA            .00                .00
CAPITAL ONE BANK USA NA              Unsecured         948.68       948.68       948.68            .00                .00
CAPITAL ONE BANK USA NA              Unsecured             NA       914.20       914.20            .00                .00
CHARTER MEDICAL                      Unsecured         147.72           NA           NA            .00                .00
CHICKASAW COUNTY JUSTICE COURT Secured                     NA           NA           NA            .00                .00
COFFEEVILLE JUSTICE COURT            Secured               NA           NA           NA            .00                .00
COMENITY BANK                        Unsecured        1,365.01          NA           NA            .00                .00
CORRECT CARE INC                     Unsecured          75.00           NA           NA            .00                .00
CREDENCE                             Secured               NA           NA           NA            .00                .00
CREDIT ACCEPTANCE CORP               Secured           354.33       354.00       354.00        354.00                 .33
CSPIRE                               Unsecured        1,363.04          NA           NA            .00                .00
CT CORPORATION                       Secured               NA           NA           NA            .00                .00
DIRECTV, LLC BY AMERICAN INFOSOURCE
                                 Unsecured             442.00       442.98       442.98            .00                .00
FEDLOAN SERVICING                    Unsecured       56,477.00    56,351.18    56,351.18           .00                .00
FRANKLIN COLLECTION SERVICES         Secured               NA           NA           NA            .00                .00
FROST ARNETT COMPANY                 Secured               NA           NA           NA            .00                .00
HANGER CLINIC                        Unsecured         175.82           NA           NA            .00                .00
HEARTLAND ECSI                       Unsecured        1,021.00          NA           NA            .00                .00
INTERNAL REVENUE SERVICE             Secured               NA           NA           NA            .00                .00
INTERNAL REVENUE SERVICE             Secured               NA           NA           NA            .00                .00
INTERNAL REVENUE SERVICE             Unsecured       23,000.00   103,685.66   103,685.66           .00                .00
LAFAYETTE COUNTY JUSTICE COURT       Secured               NA           NA           NA            .00                .00
LAW OFFICE OF DAVID EDWARDS PC       Secured               NA           NA           NA            .00                .00
MARSHALL COUNTY CHANCERY CLERK Secured                     NA           NA           NA            .00                .00
MEDICAL FINANCIAL SERVICES           Unsecured         103.04       682.03       682.03            .00                .00
MEDICAL FINANCIAL SERVICES           Unsecured         107.97       103.04       103.04            .00                .00
MEDICAL FINANCIAL SERVICES           Unsecured          44.25         35.40        35.40           .00                .00
MEDICAL FINANCIAL SERVICES           Unsecured          81.00         81.00        81.00           .00                .00
MEDICAL FINANCIAL SERVICES           Unsecured          13.58         35.40        35.40           .00                .00
MID SOUTH CREDIT BUREAU              Unsecured         733.32       786.96       786.96            .00                .00
MID SOUTH CREDIT BUREAU              Unsecured        3,180.29     2,911.32     2,911.32           .00                .00
MITCHELL, MCNUTT & SAMS              Unsecured         805.15           NA           NA            .00                .00
MS DEPARTMENT OF REVENUE             Late Taxes        254.11        254.11       254.11          4.38                .00
MS DEPARTMENT OF REVENUE             Secured               NA           NA           NA            .00                .00
MURPHREES FRAME SUPPLY               Unsecured        2,892.67          NA           NA            .00                .00
PAYPAL CREDIT                        Unsecured          89.50           NA           NA            .00                .00
RADIOLOGY ASSOC OF OXFORD            Secured               NA           NA           NA            .00                .00
RENASANT BANK                        Unsecured             NA           NA           NA            .00                .00
ROSAMOND H POSEY                     Secured               NA           NA           NA            .00                .00
SCHUMACHER CLINIC PARTNERS           Secured               NA           NA           NA            .00                .00
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                                        NORTHERN DISTRICT OF MISSISSIPPI
                                              ABERDEEN DIVISION

In re: STEPHANIE JONES NORWOOD                                                  Case No.: 19-12027-JDW
       STEVEN WAYNE NORWOOD
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                          Claim         Claim      Claim       Principal           Interest
Name                                 Class        Scheduled     Asserted   Allowed     Paid                Paid

SMITH ROUCHON & ASSOCIATES           Unsecured         75.00         NA         NA            .00                .00
STERN CARDIOVASCULAR CENTER          Unsecured          4.00         NA         NA            .00                .00
TRS RECOVERY                         Secured             NA          NA         NA            .00                .00
TRS RECOVERY SERVICES                Unsecured        246.59         NA         NA            .00                .00
UNITED COLLECTION BUREAU INC         Unsecured      5,287.00         NA         NA            .00                .00
UNITED COLLECTION BUREAU, INC        Secured             NA          NA         NA            .00                .00
UNITED EMERGENCY SERVICES, INC       Unsecured        669.00         NA         NA            .00                .00
URGENT CARE CLINIC                   Unsecured         55.00         NA         NA            .00                .00
US DEPART OF EDUCATION               Secured             NA          NA         NA            .00                .00
US DEPARTMENT OF EDUCATION           Secured             NA          NA         NA            .00                .00
US DEPARTMENT OF EDUCATION           Secured             NA          NA         NA            .00                .00
US DEPARTMENT OF EDUCATION/MOHELA
                               Unsecured                 NA     5,586.52   5,586.52           .00                .00
WELLS FARGO HOME MORTGAGE            Secured             NA          NA         NA            .00                .00
YALOBUSHA COUNTY CHANCERY CLERK
                              Secured                    NA          NA         NA            .00                .00




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                                               NORTHERN DISTRICT OF MISSISSIPPI
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In re: STEPHANIE JONES NORWOOD                                                                          Case No.: 19-12027-JDW
       STEVEN WAYNE NORWOOD
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal            Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                 Paid

YALOBUSHA COUNTY TAX COLLECTOR Secured                                NA               NA              NA               .00                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal            Interest
                                                                                                 Allowed        Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                          23,880.57       23,880.57                 .00
     Mortgage Arrearage:                                                                        11,453.14        4,451.60                 .00
     Debt Secured by Vehicle:                                                                   14,929.00       14,929.00            1,441.59
     All Other Secured:                                                                               .00             .00                 .00
 TOTAL SECURED:                                                                                 50,262.71       43,261.17            1,441.59

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00              .00                .00
     Domestic Support Ongoing:                                                                         .00              .00                .00
     All Other Priority:                                                                               .00              .00                .00
 TOTAL PRIORITY:                                                                                       .00              .00                .00

 GENERAL UNSECURED PAYMENTS:                                                                   175,824.90        2,738.30                  .00

 Disbursements:
        Expenses of Administration:                                                             $7,050.69
        Disbursements to Creditors:                                                            $47,441.06
 TOTAL DISBURSEMENTS:                                                                                                             $54,491.75

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:    07/29/2022                                     By:   /s/Locke D. Barkley
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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